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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

 TERESA MARTINO,
      Plaintiff,

 v.                                             C.A. No. 3:17-CV-01326-JCH

 BANK OF AMERICA, N.A. and
 SETERUS, INC.,
      Defendants.

                          STATUS REPORT OF SETERUS, INC.

       NOW COMES Seterus, Inc., defendant in the above-captioned action, and

pursuant to this Court’s order of November 7, 2017, files this status report.

       Matters Relevant to the Case

       Teresa Martino (the “Plaintiff”) alleges three (3) claims against Seterus: breach of

contract, negligence and violation of the Connecticut Unfair Trade Practices Act. All of

the Plaintiff’s claims regard communications that the Plaintiff has had with Seterus

regarding the Plaintiff’s interest in modifying the terms of her loan secured by a

mortgage on 1107 North High Street, East Haven, New Haven County, Connecticut.

       Since this Court entered its order of November 7, 2017, the following events have

occurred:

       •    January 2, 2018: co-defendant Bank of America, N.A. reached an agreement

            with the Plaintiff to resolve the Plaintiff’s claims against Bank of America;

       •    January 15, 2018: Seterus filed a motion to dismiss all claims in the action and

            asked the Court to abstain pursuant to the Colorado River absention doctrine;

       •    February 1, 2018: Plaintiff filed her opposition to Seterus’ motion to dismiss;

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       •    February 2, 2018: Plaintiff and Seterus participated in a court-sponsored

            mediation that was unsuccessful.

       Discovery

       On December 4, 2017, Plaintiff sent by electronic mail her first discovery requests

to Seterus. In light of its January 15, 2018 motion to dismiss, Seterus filed with this

Court its motion to stay discovery pending this Court’s decision on the motion to

dismiss. The Court granted the motion and stayed discovery until March 1, 2018.

       Current Deadlines

       The current deadlines for the above-captioned action are as follows:

       February 14, 2018: deadline for plaintiff to disclose experts;

       March 14, 2018: deadline to depose plaintiff’s experts;

       March 31, 2018: deadline for defendant to disclose experts;

       April 30, 2018: deadline to depose defendant’s experts;

       May 18, 2018: discovery to be completed; and

       June 29, 2018: deadline to file any motion related to preclusion of an expert;

       deadline to file joint pre-trial memorandum; deadline to file dispositive motions.




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                                      Respectfully submitted,

                                      SETERUS, INC.,

                                      By its attorney,

                                      /s/ Richard C. Demerle, Esq.
                                      Richard C. Demerle, Esq.
                                      Sassoon & Cymrot, LLP
                                      84 State Street
                                      Boston, MA 02109
                                      (617) 720-0099
                                      RDemerle@SassoonCymrot.com
DATE: February 7, 2018




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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

 TERESA MARTINO,
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 v.                                             C.A. No. 3:17-CV-01326-JCH

 BANK OF AMERICA, N.A. and
 SETERUS, INC.,
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                               CERTIFICATE OF SERVICE

       I, Dana A. Jonson, Esq. of the Law Offices of Dana A. Jonson, LLP, hereby certify

that I have this 7th day of February 2018 served on behalf of Seterus, Inc. a Status

Report of Seterus, Inc. and this Certificate of Service by causing copies hereof to be sent

by electronic mail via the Case Management / Electronic Case Files (ECF) system and

by first-class U.S. mail (M) to all parties not appearing electronically but entitled to

service per the Federal Rules of Civil Procedure.

 Jeffrey S. Gentes, Esq.                        J. Livingston Pottenger, Jr., Esq.
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                                               /s/ Dana A. Jonson, Esq.
                                               Dana A. Jonson, Esq.




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